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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. 08-458 (A) -GAF
Plaintiff,
ROLLETA EBROLE RIAZON
VV.

EVELYN PELAYO,
RODOLFO EBROLE DEMAFELIT2,
JR.,

aka “Duden, ”
ROLLETA EBROLE RIAZON, and
DARWIN PADOLINA,

sett Net eet eet eel eet Meee Steet Mit Step Some Snape Spee

Defencants.

 

 

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PLEA AGREEMENT FOR DEFENDANT

1. This constitutes the plea agreement between ROLLETA

EBROLE RIAZON (“defendant”) and the United States Attorney’s

Office for the Central District of California (*the USAO”) in the

above-captioned case. This agreement is limited to the USAO and

cannot bind any other federal, state or local prosecuting,

administrative or regulatory authorities.

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PLEA

2. Defendant agrees to plead guilty to count one of the
first superseding indictment in United States v. Evelyn Pelayo,
et_al., CR No. 08-458(A)-GAF.

NATURE OF THE OFFENSE

3. In order for defendant to be guilty of count one,
which charges a violation of Title 8, United States Code, Section
1324 (a) (1) (A) (v) (I), the following must be true: (1) beginning on
an unknown date and ending on or about April 3, 2008, there was
an agreement between two or more persons to commit the crime of
encouraging and inducing one or more aliens to come to, enter,
and reside in the United States in violation of law; and (2)
defendant became a member of the conspiracy knowing of its object
and intending to help accomplish it. Defendant admits that
defendant is, in fact, guilty of this offense as described in
count one of the first superseding indictment.

PENALTIES

4. The statutory maximum sentence that the Court can impose
for a violation of Title 8, United States Code, Section
1324(a) (1) (A) (v) (I) is: 10 years imprisonment; a three-year
period of supervised release; a fine of $250,000 or twice the
gross gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of $10¢0,

5. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if

defendant viclates one or more of the conditions of any

 

 
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supervised release imposed, defendant may be returned to prison
for all or part of the term of supervised release, which could
result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

6. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

7. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in another
case, and suspension or revocation of a professional license.
Defendant understands that unanticipated collateral consequences
will not serve as grounds to withdraw defendant’s guilty plea.

FACTUAL BASTS

8. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described in
this agreement and to establish the sentencing guideline factors
set forth in paragraph 10 below. It is not meant to be a
complete recitation of all facts relevant to the underlying
criminal conduct or all facts known to either party that relate
to that conduct.

Beginning on an unknown date and continuing to on or about
April 3, 2008, defendant ROLLETA EBROLE RIAZON agreed and

conspired with co-defendant Rodolfo Ebrole Demafeliz, Jr.

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(“Demafeliz”), and others, to encourage and induce one or more
aliens to come to, enter, and reside in the United States in
violation of law.

In order to effect the object of the conspiracy, defendant
performed various duties in order to assist aliens entering the
United States with fraudulently obtained visas issued for the
purpose of attending martial arts competitions. Specifically,
defendant trained aliens A.G. and J.D. in the martial art of
Taekwondo for approximately one to three months. Thereafter,
defendant assisted aliens A.G. and J.D. with fraudulently
obtaining United States visas for the purpose of attending
martial arts competitions. Defendant knew that, in furtherance
of the conspiracy, co-defendant Demafeliz brought aliens A.G. and
J.D. from the Philippines to the United States utilizing the
fraudulently obtained visas.

On April 3, 2008, defendant admitted to a Federal Bureau of
Investigation Special Agent the following: (1) that defendant and
co-defendant Demafeliz issued aliens A.G. and J.D. false
Taekwondo training certificates, provided them with lists of
questions that the consular official would ask the aliens during
the visa application interview, and provided them with answers in
order to ensure issuance of a visa for the purported purpose of
attending martial arts competitions in the United States; (2)
that defendant knew that the primary purpose of the aliens’
travel to the United States was not to attend martial arts
competitions; and (3) that defendant was acting in response to
co-defendant Demafeliz’s instructions when defendant trained

aliens A.G. and J.D. in Taekwondo and prepared them for their

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interviews with embassy officials.
WAIVER OF CONSTITUTIONAL RIGHTS
9. By pleading guilty, defendant gives up the following
rights:

a) The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this
regard, defendant understands that, despite her plea of guilty,
she retains the right to be represented by counsel -- and, if
necessary, to have the court appoint counsel if defendant cannot
afford counsel -- at every other stage of the proceeding.)

d} The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

£) The right, if defendant wished, to testify on
defendant’s own behalf and present evidence in opposition to the
charges, including the right to calli witnesses and to subpoena
those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

By pleading guilty, defendant also gives up any and ail
rights to pursue any affirmative defenses, Fourth Amendment or

Fifth Amendment claims, and other pretrial motions that have been

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filed or could be filed.
SENTENCING FACTORS

10. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553(a)(1)-(7),
including the kinds of sentence and sentencing range established
under the United States Sentencing Guidelines ("U.S.5.G." or
“Sentencing Guidelines”), in determining defendant’s sentence.
Defendant further understands that the Sentencing Guidelines are
advisory only, and that after considering the Sentencing
Guidelines and the other § 3553{a) factors, the Court may be free
to exercise its discretion to impose any reasonable sentence up
to the maximum set by statute for the crime of conviction.

ii. Defendant and the USAO agree and stipulate to the

following applicable Sentencing Guidelines factors:

 

 

Base Offense Level =: +12 U.S.8S.G. § 2L1.1{(a) (3}
Acceptance of

Responsibility : “2 U.S.S.G. § 3EL.1(a)
Total Offense Level : 10

The USAO will agree to a downward adjustment for acceptance of
responsibility (and, if applicable, move for an additional level
under § 3Bi.i1(b)} only if the conditions set forth in paragraph
15) are met. Subject to paragraph 14, defendant and the USAO
agree not to seek, argue, or suggest in any way, either orally or
in writing, that any other specific offense characteristics,
adjustments or departures, relating to either the applicabie
Offense Level or the Criminal History Category, be imposed. If,

however, after signing this agreement but prior to sentencing,

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defendant were to commit an act, or the USAO were to discover a
previously undiscovered act committed by defendant prior to
signing this agreement, which act, in the judgment of the USAO,
constituted obstruction of justice within the meaning of U.S.S.G.
§ 3Cl.1, the USAO would be free to seek the enhancement set forth
in that section.

12. There is no agreement as to defendant’s criminal
history or criminal history category.

13. Defendant and the USAO, pursuant to the factors set
forth in 18 U.S.C. § 3553(a){i), (a) (2), (a) (3), (a) (6), and
(a) (7), further reserve the right to argue for a sentence outside
the sentencing range established by the Sentencing Guidelines.

14. The stipulations in this agreement do not bind either
the United States Probation Office or the Court. Both defendant
and the USAO are free to: (a) supplement the facts by supplying
relevant information to the United States Probation Office and
the Court, (b) correct any and all factual misstatements relating
to the calculation of the sentence, and (c) arque on appeal and
collateral review that the Court’s Sentencing Guidelines
calculations are not error, although each party agrees to
maintain its view that the calculations in paragraph 10 are
consistent with the facts of this case.

DEFENDANT’ S OBLIGA'TTONS
15. Defendant agrees that she will:
a) Plead guilty as set forth in this agreement.
b) Not knowingly and willfully fail to abide by ail

sentencing stipulations contained in this agreement.

ec) Not knowingly and willfully fail to: (i) appear for

 

 
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all court appearances, (ii) surrender as ordered for service of
sentence, (iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

d} Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. § 4Al1.2{(c) are
not within the scope of this agreement.

e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

f) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

THE USAG’S OBLIGATIONS
16. If defendant complies fully with ail defendant’s
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained in
this agreement.

b) To recommend that defendant be sentenced to a term
of imprisonment of time-served followed by a three-year period of
supervised release.

c) Not to oppose defendant's request, if made, for the
preparation of an expedited Presentence Report in this case.

BREACH OF AGREEMENT
17. If defendant, at any time after the execution of this
agreement, knowingly violates or fails to perform any of
defendant’s agreements or obligations under this agreement (“a

breach’), the USAO may declare this agreement breached. ff the

 
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USAO declares this agreement breached at any time following its
execution, and the Court finds such a breach to have occurred,
then: (a) if defendant has previously entered a guilty plea,
defendant will not be able to withdraw the guilty plea, and (b)
the USAO will be relieved of all of its obligations under this
agreement.

18. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to
pursue any charge that was either dismissed or not filed as a
result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of
this agreement and the commencement of any such prosecution.

b} Defendant gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such prosecution, except to the
extent that such defenses existed as of the date of defendant's
signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
Factual basis statement in this agreement; and (iii) any evidence
derived from such statements, are admissible against defendant in
any such prosecution of or action against defendant, and
defendant shall assert no claim under the United States
Constitution, any statute, Rule 410 of the Federal Rules of
Evidence, Rule l1(f) of the Federal Rules of Criminal Procedure,

or any other federal rule, that the statements or any evidence

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derived from any statements should be suppressed or are
inadmissible.
LIMITED MUTUAL WAIVER OF APPEAL

49. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is
determined, previded that (a) the sentence is within the
statutory maximum specified above and is constitutional, and (b)
the Court imposes a sentence within or below the range
corresponding to a total offense level of 10, and the applicable
criminal history category as determined by the Court.
Notwithstanding the foregoing, defendant retains any ability
defendant has to appeal the Court’s determination of defendant's
criminal history category and the conditions of
probation/supervised release imposed by the Court, with the
exception of the following: conditions set forth in General
Orders 318, 01-05, and/or 05-02 of this Court; the drug testing
conditions mandated by 18 U.S.C. §§ 3563{a) (5) and 3583 (dad); and
the alcohol and drug use conditions authorized by 18 U.S.C.

§ 3563 (b) (7).

20. The USAO gives up its right to appeal the sentence,
provided that (a) the sentence is within the statutory maximum
specified above and is constitutional, and {b) the Court imposes
@ gentence within or above the range corresponding to a total
offense level of 10, and the applicable criminal history category
as determined by the Court.

COURT NOT A PARTY
21. The Court is not a party to this agreement and need not

accept any of the USAO’s sentencing recommendations or the

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parties’ stipulations. Even if the Court ignores any sentencing
recommendation, finds facts or reaches conclusions different from
any stipulation, and/or imposes any sentence up to the maximum

established by statute, defendant cannot, for that reason,

 

 

withdraw defendant's guilty plea, and defendant will remain bound
to fulfill all defendant’s obligations under this agreement. No
one -- not the prosecutor, defendant’s attorney, or the Court --
can make a binding prediction or promise regarding the sentence
defendant will receive, except that it will be within the
statutory maximum.
NO ADDITIONAL AGREEMENTS

22. Except as set forth herein, there are no promises,
understandings or agreements between the USAO and cefendant or
defendant’s counsel. Nor may any additional agreement,
understanding or condition be entered into unless in a writing

signed by all parties or on the record in court.

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PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

23. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant’s guilty plea
hearing as if the entire Agreement had been read into the record
of the proceeding.

This agreement is effective upon signature by defendant and
an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFPICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THOMAS P. O’BRIEN
United States,attdthey

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Assistant United States Attorney

I have read this agreement and carefully Giscussed every
part of it with my attorney. This agreement has been read to me
in Tagalog, the language I understand best, and I have carefully
discussed every part of it with my attorney. I understand the
terms of this agreement, and I voluntarily agree to those terms.
My attorney has advised me of my rights, of possible defenses, of
the sentencing factors set forth in 18 U.S.C. § 3553{a), of the
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. No promises or

inducements have been given to me other than those contained in

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